        Case 15-07701         Doc 53-2       Filed 02/06/19 Entered 02/06/19 16:19:10                  Desc Notice
                                             of Default Letter Page 1 of 1
 Corporate Office                                                                                           D. Anthony Sottile 1 2 3
 11351 Pearl Rd., Suite 300                                                                                    Franco M. Barile 1 4
 Strongsville, OH 44136                                                                                         Jon Lieberman 1 2 4
 (440) 572-1511                                                                                                  Michael J. Lubes 1
                                                                                                                David W. Cliffe 1 2 4
 Southern Ohio Office                                                                                             Molly Simons 1 2
 394 Wards Corner Rd., Suite 180                                                                                   Karl V. Meyer 5
 Loveland, OH 45140                                                                                            Michelle D. Heinz 1
 (513) 444-4100
                                                                                                    (1)-Ohio, (2)-Kentucky, (3)-Indiana,
                                                                                                                (4)-Michigan, (5)-Illinois
 Illinois Office
 1415 West 22nd Street, Tower Floor
 Oak Brook, IL 60523
 (312) 883-2810                                                                                       www.sottileandbarile.com

January 16, 2019

David H. Cutler

        RE: Ricardo Fajardo
        Bankruptcy Case No.: 15-07701
        Creditor: US Bank Trust National Association, as Trustee of the SCIG Series III Trust
        Please Refer to File Number ILB1901002

Dear Sir/Madam,

        I am writing to you on behalf of US Bank Trust National Association, as Trustee of the SCIG Series III Trust
to advise you that the above referenced Debtor has defaulted on payments pursuant to the Order entered November 6,
2018.

        The Debtor has failed to remit stipulation payments for the months of November 30, 2018 through December 30,
2018 in the amount of $641.80 each as well as post-petition payments for the month of November 1, 2018 in the amount
of $959.35 and the month of December 1, 2018 in the amount of $962.63. The total amount necessary to cure the default
through January 30, 2019 is $3,205.58. Payment - IN CERTIFIED FUNDS ONLY - should be sent directly to US Bank
Trust National Association, as Trustee of the SCIG Series III Trust, PO Box 660820, Dallas, TX 75266-0820.

        If this default is not cured within fourteen (14) days after the date of receipt of this notice, Movant may file a
Notice of Stay Modification terminating the stay.
                                                            Sincerely,

                                                           __ /s/ Jon J. Lieberman________
                                                           Jon J. Lieberman
                                                           Sottile & Barile, Attorneys at Law
                                                           P.O. Box 476
                                                           Loveland OH 45140
                                                           Phone: (513) 444-4100
                                                           bankruptcy@sottileandbarile.com

Pursuant to the Fair Debt Collection Practices Act, you are advised that this office is deemed to be a debt collector
                          and any information obtained may be used for that purpose.

cc:     Ricardo Fajardo
        4143 W 56th Street
        Chicago, IL 60629
